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                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                           MINUTES

    Case Number                Date                  Time                Judge

 1:08-cv-00991-PLM            8/2/2018        9:08-9:46 AM –         Phillip J. Green
                                               1:46-1:48 PM

                               CASE CAPTION

                              Carlson v. Fewins et al

                               APPEARANCES
    Attorney:                                        Representing:
Grant W. Parsons                         Plaintiff

Christopher K. Cooke                     Defendants

                               PROCEEDINGS

NATURE OF HEARING:

Settlement Conference held; the parties did not reach a settlement of the case.




                          Portions Digitally Recorded
                           Deputy Clerk: J. Wright
